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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA


                        DESIGNATION OF TRANSCRIPTS
                      TO BE USED IN RECORD ON APPEAL

District Court Case Number: 3:17-cv-00293

Court of Appeals Case Number: 19-15623

Case Caption: James O'Doan v. Joshua Sanford et al.

              Transcripts are NOT required for this appeal.

The undersigned hereby designates the following transcripts to be used in the record on appeal
for the above listed case and appeal:

                                                                                      Transcript
   Date of         Docket                    Proceeding                   Recorder/     Filed
   Hearing         Number                                                 Reporter     Yes/No

 11/16/2017      3:17-cv-00293 Motion Hearing                             K. French   Y Doc#38




Date: 4/5/2019
                                                              Signature


                                                              Luke Busby, Esq.
                                                              Print Name


                                                              James O'Odoan
                                                              Appellant/Appellee
